Case 1:09-cr-00466-BMC-RLM          Document 742       Filed 10/14/24          Page 1 of 1 PageID #:
                                          18852
                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
 FJN/RMP/LAB/AA                                     271 Cadman Plaza East
 F. #2009R01065/OCDETF#NY-NYE-616                   Brooklyn, New York 11201



                                                    October 14, 2024

 By ECF and E-Mail

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:     United States v. Ismael Zambada Garcia
                       Criminal Docket No. 09-466 (BMC) (S-5)


 Dear Judge Cogan:

                The government writes to request that the initial status conference currently
 scheduled for October 17, 2024 at 2:15 p.m. be adjourned by one day and set for October 18,
 2024 at 11:00 a.m. The initial status conference was originally scheduled for October 31, 2024
 and the government requested that it be advanced to October 17 because of a scheduling conflict.
 The government has consulted with the U.S. Marshals Service, defense counsel, and Your
 Honor’s courtroom deputy, and for logistical reasons now asks that the conference be set for
 October 18, 2024 at 11:00 a.m. The defense consents to this request.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:     /s/ Robert M. Pollack
                                                    Francisco J. Navarro
                                                    Robert M. Pollack
                                                    Lauren A. Bowman
                                                    Adam Amir
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000
